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                            DAVIS COUNTY JAIL
                              Watch Commander
    ~~~ ~GEL CHRISTOPHER              Inm3te Ulfu. 398403
        •U                            Date; 08/12/2020
    Housing UnUt Q-21 ·DCCF·POD6·
    QUEBEC                           '           '          '
    Inmate Request:.
    ?8112/2020 10:46:13
    ~ was refused to be given food by ebcrly on 8/10/20 im aware from bis comments to me that he wrote a report saying he refused to
     eed me any lunch and starved me on purpose because hes saying there was talk about selling my tray. that is not tTUe. aud his
    reason to me s~ed as he di<int want to feed me because ijust got back from layton hills dental and he didnt want me to bite my
    t~ngue or anyth!ng after getting a root canal and my mouth was numb. only later when i was locked down for the day a~o~bd 1:45
    di? he change has reason to hearing some other inmate comment on wanting my tray when iaskedfor it in the dayroom. 1 did not hear
    Uus or acknwledge it as i was very hungry and wanted to eat lunch myself. and when he says that happened, which it didnt, eberly
    ~as upstars with just me and him ns i made me 2nd request for a lunch as i hadnt been fed. eberly in return commented 6~ y,,hat they
    dtdnt feed you mcdonalds on your way out the jail' and walked off. saying this and being upsetthat i was able to leave to Jatl to get
    my tooth fixed, consideiring that ive wrote wievances before about eberly profi.libg me about my case anf making comments about
    my cb~ges and information about my case such as the body being taking across state lines to idnho in front of other inmates. check
    filed gnevanccd and it shows hes admitted to this. eberty hashad a very stron opinion of my guilt and has treated me with such
    opinion.him knowing my case and that i was able to get somefresh air to fix my tooth clearly bothered him. as if i should be stuck in
    a hole forever and his attitude and comments over the years have shown this and so did they on 8-10. and to ruin the factthat i was
    happy i got to leave for a little and experience acar ridefor the tirst time in awhile was bothering eberly. to the point where i shiuld
    of got mcdonalds since i was so special. this attitueis whyhe didnt feed me. as he wsnted to bother me and make my day worse. in
    doing soi went very hungry after a long dental visit witha lot of work done. either way i was in my cell for the rest of the day and
    there was no way to sell or give away for free if i wanted to any tray. and only then did he say he wasnt feeding me the tray for
    whatever fake reason he came up with to justify him doing so.
    Inmate Signature/Date:,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                       =-----------------
    Staff Response:




    Staff SignatureiDate:_ _ _- - : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
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                OQ Form so la {""1xd 02-29-96)
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